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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                    )       CASE NO. 1:10CR384
                                             )
                      Plaintiff,             )
       v.                                    )       JUDGE SARA LIOI
                                             )
                                             )
FRANK P. RUSSO,                              )
                      Defendant.             )


                 MOTION PURSUANT TO RULE 35 FED.. R. CRIM. PROC.


       Now comes counsel for the United States, and respectfully requests, pursuant to Rule

35(b)(1) of the Federal Rules of Criminal Procedure, that this Court consider reducing the

sentence of Defendant for providing substantial assistance to the United States in investigating

and prosecuting persons who are targets and subjects of the Cuyahoga County corruption

investigation.

       Defendant pleaded guilty to an information on September 16, 2010 (Doc. 7) and was

sentenced to a term of 262 months on December 15, 2010 (Doc. 19). The judgment was entered

on December 29, 2010 (Doc. 21) and was amended on January 4, 2010 (Doc. 22).
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        At sentencing, the United States indicated that Defendant was in the early stages of

cooperating in the investigation and that a motion under Rule 35 might be made.

       The United States requests that once Defendant’s cooperation is substantially complete

that this Court schedule a hearing on this motion. The United States makes no representation

about the sentencing recommendation it will make at such hearing.

                                                    Respectfully submitted,

                                                    Eric H. Holder, Jr.
                                                    Attorney General of the United States


                                                    Barbara L. McQuade
                                                    United States Attorney
                                                    Eastern District of Michigan


                                             By:    /s/Ann C. Rowland
                                                    Ann C. Rowland (OH: 0015156)
                                                    Antoinette T. Bacon (DC: 474696)
                                                    Assistant U. S. Attorneys
                                                    United States Court House
                                                    801 West Superior Avenue, Suite 400
                                                    Cleveland, Ohio 44113-1852
                                                    (216) 622-3847
                                                    (216) 622-3966
                                                    (216) 522-2403 (facsimile)
                                                    E-mail: Ann.Rowland@usdoj.gov
                                                    E-mail: Antoinette.T.Bacon@usdoj.gov
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                                 CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was filed electronically. Notice of this filing will be

sent by operation of the Court’s electronic filing system to all parties indicated on the electronic

filing receipt. All other parties will be served by regular U.S. mail. Parties may access this

filing through the Court’s system.



                                                      /s/Ann C. Rowland
                                                      Ann C. Rowland
                                                      Assistant U.S. Attorney
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